

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-68,756-01






ROGER HUNTER, JR., Relator


v.


CHEROKEE COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 15202 IN THE 2ND JUDICIAL DISTRICT COURT

FROM CHEROKEE COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the 2nd Judicial
District Court of Cherokee County, that more than 35 days have elapsed, and that the application has not
yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Cherokee County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not cognizable
under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed an application for
habeas corpus in Cherokee County.  This application for leave to file a writ of mandamus shall be held in
abeyance until the respondent has submitted the appropriate response.  Such response shall be submitted
within 30 days of the date of this order.



Filed: December 12, 2007

Do not publish	


